The action set forth in the complaint is based on the plaintiff's claimed right of an accounting and a money judgment as incident thereto. These and further allegations in the complaint are evidently designed to set up a fiduciary relationship between the plaintiff and the defendants, and to seek the relief prayed for on the basis of such relationship. *Page 47 
Thus is pleaded a cause or causes of action "properly cognizable in equity" prior to 1880. Bristol vs. Pitchard, 81 Conn. 451. Under these circumstances a jury trial is a matter of the court's discretion, which should be exercised to promote the most expeditious disposition of the cause consistent with a legal and just determination of the issues presented.
In the opinion of the court, after a review of the pleadings, this result is more likely to follow from a court trial than by a trial by a jury.
   For the foregoing reasons the motion as made is granted and the case is hereby ordered stricken from the jury docket.